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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


NEUROCRINE BIOSCIENCES, INC.

                        Plaintiff,
                                                       Civil Action No. ________
         v.

TEVA PHARMACEUTICALS, INC., TEVA
PHARMACEUTICALS DEVELOPMENT,
INC., TEVA PHARMACEUTICALS USA,
INC. and TEVA PHARMACEUTICAL
INDUSTRIES LTD.
                 Defendants.

                        COMPLAINT FOR PATENT INFRINGEMENT

         Neurocrine Biosciences, Inc. (“Neurocrine”), by way of Complaint against Defendants

Teva Pharmaceuticals, Inc. (“Teva Pharmaceuticals”), Teva Pharmaceuticals Development, Inc.

(“Teva Development”), Teva Pharmaceuticals USA, Inc. (“Teva USA”) and Teva Pharmaceutical

Industries Ltd. (“Teva Industries”) (collectively “Teva” or “Defendants”), alleges as follows:

                                     NATURE OF THE ACTION

         1.      This is a civil action for patent infringement of U.S. Patent Nos. 10,065,952 (“the

’952 patent”), 10,844,058 (“the ’058 patent”), 10,851,103 (“the ’103 patent”), 10,851,104 (“the

’104 patent”), 10,857,137 (“the ’137 patent”), 10,857,148 (“the ’148 patent”), 10,874,648 (“the

’648 patent”), 10,906,902 (“the ’902 patent”), 10,906,903 (“the ’903 patent”), 10,912,771 (“the

’771 patent”), 10,919,892 (“the ’892 patent”), 10,940,141 (“the ’141 patent”) and 10,952,997 (“the

’997 patent”) (collectively, “patents-in-suit”), arising under the United States patent laws, Title 35,

United States Code, § 100 et. seq., including 35 U.S.C. §§ 271 and 281. This action relates to

Teva’s filing of an Abbreviated New Drug Application (“ANDA”) No. 215984 under Section

505(j) of the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 355(j), seeking U.S. Food and


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Drug Administration (“FDA”) approval to manufacture, use, import, offer to sell and/or sell

Valbenazine Capsules, 40 mg and 80 mg (“Teva’s generic products”) before the expiration of the

patents-in-suit.

                                            THE PARTIES

         2.        Neurocrine is a corporation organized and existing under the laws of Delaware with

its corporate headquarters at 12780 El Camino Real, San Diego, CA 92130.

         3.        Neurocrine is engaged in the business of researching, developing and bringing to

market innovative pharmaceutical products for the treatment of neurological, endocrine and

psychiatric disorders.

         4.        Neurocrine received a letter from Teva dated June 3, 2021 (“Teva’s Notice Letter”),

purporting to include a “Notice of ANDA No. 215984 Valbenazine Capsules, 40 mg and 80 mg;

With Paragraph IV Certification Concerning [the patents-in-suit]” pursuant to § 505(j)(2)(B)(iv)

of the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 355(j)(2)B)(iv) and 21 C.F.R. § 314.95.

Teva’s Notice Letter defined Teva as Teva Development.

         5.        Upon information and belief, Teva Development was incorporated in Delaware on

October 23, 2020, under File Number 3960741.

         6.        Upon information and belief, Teva Development filed a name amendment on June

23, 2021.

         7.        Upon information and belief, Teva Pharmacueticals was incorporated in Delaware

on October 23, 2020, under File Number 3960741.

         8.        Neurocrine, through its counsel, asked Teva to clarify whether, in light of the name

change according to Delaware records, Teva’s Notice Letter is now on behalf of Teva

Development, Teva Pharmaceuticals, or both entities.



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          9.     Teva’s only response was to refer Neurocrine back to Teva’s Notice Letter.

          10.    Upon information and belief, Teva Pharmaceuticals is a corporation organized

under the laws of Delaware and its principal place of business is located at 400 Interpace Parkway,

Suite A1, Parsippany, NJ 07054.

          11.    Upon information and belief, Teva Development is a corporation organized under

the laws of Delaware and its principal place of business is located at 400 Interpace Parkway, Suite

A1, Parsippany, NJ 07054.

          12.    Upon information and belief, Teva USA is a corporation organized under the laws

of Delaware and its principal place of business is located at 400 Interpace Parkway, Suite A1,

Parsippany, NJ 07054.

          13.    Upon information and belief, Teva Industries is a corporation organized under the

laws of Israel and its principal place of business is located at 5 Basel Street, Petach Tikva, 49131,

Israel.

          14.    Upon information and belief, Teva Pharmaceuticals is a wholly-owned subsidiary

of Teva Industries.

          15.    Upon information and belief, Teva Development is a wholly-owned subsidiary of

Teva Industries.

          16.    Upon information and belief, Teva USA is a wholly-owned subsidiary of Teva

Industries.

          17.    Upon information and belief, Teva Pharmaceuticals, Teva Development and Teva

USA are generic pharmaceutical companies that, in coordination with each other and Teva

Industries or at the direction of Teva Industries, develop, manufacture, market and distribute

generic pharmaceutical products for sale in the State of Delaware and throughout the United States.




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                                  JURISDICTION AND VENUE

         18.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

         19.     This Court has personal jurisdiction over Teva Pharmaceuticals. Upon information

and belief, Teva Pharmaceuticals is in the business of manufacturing, marketing, importing and

selling pharmaceutical drug products, including generic drug products. Upon information and

belief, Teva Pharmaceuticals directly, or indirectly, develops, manufactures, markets and sells

generic drugs throughout the United States and in this judicial district. Upon information and

belief, Teva Pharmaceuticals purposefully has conducted and continues to conduct business in this

judicial district, and this judicial district is a likely destination of Teva’s generic products.

         20.     This Court has personal jurisdiction over Teva Development. Upon information

and belief, Teva Development is in the business of manufacturing, marketing, importing and

selling pharmaceutical drug products, including generic drug products. Upon information and

belief, Teva Development directly, or indirectly, develops, manufactures, markets and sells generic

drugs throughout the United States and in this judicial district. Upon information and belief, Teva

Development purposefully has conducted and continues to conduct business in this judicial district,

and this judicial district is a likely destination of Teva’s generic products.

         21.     This Court has personal jurisdiction over Teva USA. Upon information and belief,

Teva USA is in the business of manufacturing, marketing, importing and selling pharmaceutical

drug products, including generic drug products. Upon information and belief, Teva USA directly,

or indirectly, develops, manufactures, markets and sells generic drugs throughout the United States

and in this judicial district. Upon information and belief, Teva USA purposefully has conducted

and continues to conduct business in this judicial district, and this judicial district is a likely

destination of Teva’s generic products.

         22.     Upon information and belief, Teva USA states that it “is the leading generic drug


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company in the United States.” https://www.tevausa.com/about-teva/ (accessed July 7, 2021).

         23.     This Court has personal jurisdiction over Teva Industries. Upon information and

belief, Teva Industries is in the business of manufacturing, marketing, importing and selling

pharmaceutical drug products, including generic drug products. Upon information and belief,

Teva Industries directly, or indirectly, develops, manufactures, markets and sells generic drugs

throughout the United States and in this judicial district. Upon information and belief, Teva

Industries purposefully has conducted and continues to conduct business in this judicial district,

and this judicial district is a likely destination of Teva’s generic products.

         24.     Upon information and belief, Teva Industries is the holder of FDA Drug Master

File No. 35290 for valbenazine tosylate.

         25.     Upon information and belief, Teva Pharmaceuticals, Teva Development, Teva

USA and Teva Industries hold themselves out as a unitary entity and operate as a single integrated

business with respect to the regulatory approval, manufacturing, marketing, sale and distribution

of generic pharmaceutical products throughout the United States, including in this judicial district.

         26.     Upon information and belief, Teva admits that “1 of every 9 prescriptions in the

US” is filled with a Teva product. https://www.tevapharm.com/teva-worldwide/ (accessed July 7,

2021). Upon information and belief, Teva has at least 30 locations across the U.S. and its

territories.              https://businessfacilities.com/2018/07/teva-pharmaceuticals-moving-u-s-

headquarters-parsippany-troy-hills-new-jersey/ (accessed July 7, 2021). Upon information and

belief, Teva admits it has 100 pending first-to-file ANDAs in the U.S. and 270 product registrations

pending        FDA   approval.    https://www.tevapharm.com/globalassets/scs-files---global/teva-

infographic-files/teva_infographic_english_may2020.pdf (accessed July 7, 2021).

         27.     Upon information and belief, Teva is engaged in the submission and approval of




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ANDAs for the U.S. market, admitting Teva has “over 100 pending first-to-files in the U.S.” See,

e.g.,    https://www.tevausa.com/news-and-media/press-releases/teva-wins-generic-uceris-patent-

trial/ (accessed July 8, 2021).

         28.     Teva’s ANDA filing regarding the patents-in-suit relates to this litigation and is

substantially connected with this judicial district because it reliably and non-speculatively predicts

Teva’s intent to market and sell Teva’s generic products in this judicial district.

         29.     Teva has taken the significant step of applying to the FDA for approval to engage

in future activities—including the marketing of its generic drugs—which, upon information and

belief, will be purposefully directed at the District of Delaware and elsewhere throughout the

United States. Upon information and belief, Teva intends to direct sales of its generic drugs in this

judicial district, among other places, once Teva receives the requested FDA approval to market its

generic products. Upon information and belief, Teva will engage in marketing of its proposed

generic products in Delaware upon approval of its ANDA.

         30.     Upon information and belief, Teva Pharmaceuticals, Teva Development, Teva

USA and Teva Industries have thus been, and continue to be, joint and prime actors in the drafting,

submission, approval and maintenance of ANDA No. 215984.

         31.     For these reasons and for other reasons that will be presented to the Court if

jurisdiciton is challenged, the Court has personal jurisdiciton over Teva.

         32.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b),

because Teva Industries is incorporated in Israel and may be sued in any judicial district in the

United States.

         33.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b),

because Teva Pharmaceuticals is incorporated in the state of Delaware.




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         34.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b),

because Teva Development is incorporated in the state of Delaware.

         35.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b),

because Teva USA is incorporated in the state of Delaware.

                                   FACTUAL BACKGROUND

                                              The NDA

         36.      Neurocrine is the holder of New Drug Application (“NDA”) No. 209241 for

INGREZZA® (valbenazine) Capsules in 40, 60, and 80 mg dosage forms (“INGREZZA®

Capsules”).

         37.      The FDA approved NDA No. 209241 on April 11, 2017.

         38.      INGREZZA® Capsules are prescription drugs approved for the treatment of tardive

dyskinesia.      Valbenazine, which is present as the tosylate salt, is the active ingredient in

INGREZZA® Capsules.

         39.      Valbenazine Capsules are marketed in the United States under the trademark

INGREZZA®.

                                        The Patents-in-Suit

         40.      The United States Patent and Trademark Office (“the PTO”) issued the ’952 patent

on September 4, 2018, titled “Valbenazine Salts and Polymorphs Thereof.” A true and correct

copy of the ’952 patent is attached as Exhibit A.

         41.      Neurocrine owns the ’952 patent through assignment as recorded by the PTO at

Reel 041075, Frame 0820 and Reel 042510, Frame 0992.

         42.      The ’952 patent currently expires on October 28, 2036.




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         43.     The ’952 patent is listed in Approved Drug Products with Therapeutic Equivalence

Evaluations (“the Orange Book”) in connection with NDA No. 209241 for INGREZZA® Capsules.

         44.     The PTO issued the ’058 patent on November 24, 2020, titled “Valbenazine Salts

and Polymorphs Thereof.” A true and correct copy of the ’058 patent is attached as Exhibit B.

         45.     Neurocrine owns the ’058 patent through assignment as recorded by the PTO at

Reel 052974, Frame 0121; Reel 052974, Frame 0549 and Reel 053995, Frame 0827.

         46.     The ’058 patent currently expires on October 28, 2036.

         47.     The ’058 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         48.     The PTO issued the ’103 patent on December 1, 2020, titled “Valbenazine Salts

and Polymorphs Thereof.” A true and correct copy of the ’103 patent is attached as Exhibit C.

         49.     Neurocrine owns the ’103 patent through assignment as recorded by the PTO at

Reel 052974, Frame 0121; Reel 052974, Frame 0549 and Reel 053995, Frame 0827.

         50.     The ’103 patent currently expires on October 28, 2036.

         51.     The ’103 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         52.     The PTO issued the ’104 patent on December 1, 2020, titled “Valbenazine Salts

and Polymorphs Thereof.” A true and correct copy of the ’104 patent is attached as Exhibit D.

         53.     Neurocrine owns the ’104 patent through assignment as recorded by the PTO at

Reel 052974, Frame 0121; Reel 052974, Frame 0549 and Reel 053995, Frame 0827.

         54.     The ’104 patent currently expires on October 28, 2036.

         55.     The ’104 patent is listed the Orange Book in connection with NDA No. 209241 for

INGREZZA® Capsules.




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         56.     The PTO issued the ’137 patent on December 8, 2020, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’137 patent is

attached as Exhibit E.

         57.     Neurocrine owns the ’137 patent through assignment as recorded by the PTO at

Reel 052974, Frame 0888.

         58.     The ’137 patent currently expires on October 10, 2037.

         59.     The ’137 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         60.     The PTO issued the ’148 patent on December 8, 2020, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’148 patent is

attached as Exhibit F.

         61.     Neurocrine owns the ’148 patent through assignment as recorded by the PTO at

Reel 053415, Frame 0436.

         62.     The ’148 patent currently expires on October 10, 2037.

         63.     The ’148 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         64.     The PTO issued the ’648 patent on December 29, 2020, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’648 patent is

attached as Exhibit G.

         65.     Neurocrine owns the ’648 patent through assignment as recorded by the PTO at

Reel 050397, Frame 0502 and Reel 050515, Frame 0577.

         66.     The ’648 patent currently expires on October 10, 2037.




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         67.     The ’648 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         68.     The PTO issued the ’902 patent on February 2, 2021, titled “Synthetic Methods for

Preparation      of     (S)-(2R,3R,11bR)-3-isobutyl-9,10-dimethoxy-2,3,4,6,7,11b-hexahydro-1H-

pyrido[2,1-a]isoquinolin-2- 2-amino-3-methylbutanoate di(4-methylbenzenesulfonate).” A true

and correct copy of the ’902 patent is attached as Exhibit H.

         69.     Neurocrine owns the ’902 patent through assignment as recorded by the PTO at

Reel 053426, Frame 0765; Reel 053426, Frame 0633; Reel 053440, Frame 0795 and Reel 053800,

Frame 0270.

         70.     The ’902 patent currently expires on December 22, 2036.

         71.     The ’902 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         72.     The PTO issued the ’903 patent on February 2, 2021, titled “Synthetic Methods for

Preparation      of     (S)-(2R,3R,11bR)-3-isobutyl-9,10-dimethoxy-2,3,4,6,7,11b-hexahydro-1H-

pyrido[2,1 -a]isoquinolin-2-yl 2-amino-3-methylbutanoate di(4-methylbenzenesulfonate).”         A

true and correct copy of the ’903 patent is attached as Exhibit I.

         73.     Neurocrine owns the ’903 patent through assignment as recorded by the PTO at

Reel 053426, Frame 0765; Reel 053426, Frame 0633; Reel 053440, Frame 0795 and Reel 053800,

Frame 0270.

         74.     The ’903 patent currently expires on December 22, 2036.

         75.     The ’903 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.




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         76.     The PTO issued the ’771 patent on February 9, 2021, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’771 patent is

attached as Exhibit J.

         77.     Neurocrine owns the ’771 patent through assignment as recorded by the PTO at

Reel 054349, Frame 0110.

         78.     The ’771 patent currently expires on October 10, 2037.

         79.     The ’771 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         80.     The PTO issued the ’892 patent on February 16, 2021, entitled “Synthetic Methods

for Preparation of (S)-(2R,3R,11bR)-3-isobutyl-9,10-dimethoxy-2,3,4,6,7,11b-hexahydro-1H-

pyrido[2,1-a]isoquinolin-2-yl 2-amino-3-methylbutanoate di(4-methylbenzenesulfonate).” A true

and correct copy of the ’892 patent is attached as Exhibit K.

         81.     Neurocrine owns the ’892 patent through assignment as recorded by the PTO at

Reel 053426, Frame 0765; Reel 053426, Frame 0633; Reel 053440, Frame 0795 and Reel 053800,

Frame 0270.

         82.     The ’892 patent currently expires on December 22, 2036.

         83.     The ’892 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         84.     The PTO issued the ’141 patent on March 9, 2021, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’141 patent is

attached as Exhibit L.

         85.     Neurocrine owns the ’141 patent through assignment as recorded by the PTO at

Reel 053540, Frame 0438.




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         86.     The ’141 patent currently expires on August 10, 2040.

         87.     The ’141 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

         88.     The PTO issued the ’997 patent on March 23, 2021, titled “Methods for the

Administration of Certain VMAT2 Inhibitors.” A true and correct copy of the ’997 patent is

attached as Exhibit M.

         89.     Neurocrine owns the ’997 patent through assignment as recorded by the PTO at

Reel 052974, Frame 0968.

         90.     The ’997 patent currently expires on October 10, 2037.

         91.     The ’997 patent is listed in the Orange Book in connection with NDA No. 209241

for INGREZZA® Capsules.

                                            The ANDA

         92.     Upon information and belief, Teva submitted ANDA No. 215984 with the FDA

under 21 U.S.C. § 355(j) seeking FDA approval to manufacture, use, import, offer to sell and/or

sell in the United States Valbenazine Capsules, 40 mg and 80 mg (defined above as “Teva’s

generic products”), which are generic versions of Neurocrine’s INGREZZA® Capsules.

         93.     Teva’s Notice Letter purports to include a “Notice of ANDA No. 215984

Valbenazine Capsules, 40 mg and 80 mg; With Paragraph IV Certification Concerning [the

patents-in-suit]” pursuant to § 505(j)(2)(B)(iv) of the Federal Food, Drug and Cosmetic Act, 21

U.S.C. § 355(j)(2)B)(iv) and 21 C.F.R. § 314.95. Teva’s Notice Letter stated that Teva had filed

ANDA No. 215984, seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s

generic products before the expiration of the patents-in-suit.




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          94.    Teva’s Notice Letter states that ANDA No. 215984 contains certifications pursuant

to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), alleging that the claims of the patents-in-suit are invalid,

unenforceable or will not be infringed by manufacture, use, import, offer to sell and/or sale of

Teva’s generic products.

          95.    Plaintiff commenced this action within 45 days of receiving Teva’s Notice Letter.

                                              COUNT I

                           (INFRINGEMENT OF THE ’952 PATENT)

          96.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          97.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’952 patent.

          98.    Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’952 patent are invalid, unenforceable and/or will not be infringed.

          99.    Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          100.   Teva has actual knowledge of the ’952 patent, as evidenced by Teva’s Notice

Letter.

          101.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’952 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’952 patent.



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          102.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          103.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’952 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’952 patent.

          104.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’952 patent.

          105.   Upon information and belief, Teva has knowledge of the ’952 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’952 patent, either literally or under the doctrine of

equivalents.

          106.   Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’952 patent.

          107.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.




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          108.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          109.   Plaintiff does not have an adequate remedy at law.

                                              COUNT II

                            (INFRINGEMENT OF THE ’058 PATENT)

          110.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          111.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’058 patent.

          112.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’058 patent are invalid, unenforceable and/or will not be infringed.

          113.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          114.   Teva has actual knowledge of the ’058 patent, as evidenced by Teva’s Notice

Letter.

          115.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’058 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’058 patent.




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          116.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          117.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’058 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’058 patent and any additional

periods of exclusivity.

          118.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’058 patent.

          119.   Upon information and belief, Teva has knowledge of the ’058 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’058 patent, either literally or under the doctrine of

equivalents.

          120.   Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’058 patent.




{01705729;v1 }                                    16
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          121.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

          122.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          123.   Plaintiff does not have an adequate remedy at law.

                                             COUNT III

                            (INFRINGEMENT OF THE ’103 PATENT)

          124.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          125.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’103 patent.

          126.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’103 patent are invalid, unenforceable and/or will not be infringed.

          127.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          128.   Teva has actual knowledge of the ’103 patent, as evidenced by Teva’s Notice

Letter.

          129.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’103 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’103 patent.



{01705729;v1 }                                    17
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          130.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          131.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’103 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’103 patent and any additional

periods of exclusivity.

          132.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’103 patent.

          133.   Upon information and belief, Teva has knowledge of the ’103 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’103 patent, either literally or under the doctrine of

equivalents.

          134.   Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’103 patent.




{01705729;v1 }                                    18
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          135.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

          136.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          137.   Plaintiff does not have an adequate remedy at law.

                                             COUNT IV

                            (INFRINGEMENT OF THE ’104 PATENT)

          138.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          139.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’104 patent.

          140.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’104 patent are invalid, unenforceable and/or will not be infringed.

          141.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          142.   Teva has actual knowledge of the ’104 patent, as evidenced by Teva’s Notice

Letter.

          143.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’104 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’104 patent.



{01705729;v1 }                                    19
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          144.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          145.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’104 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’104 patent and any additional

periods of exclusivity.

          146.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’104 patent.

          147.   Upon information and belief, Teva has knowledge of the ’104 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’104 patent, either literally or under the doctrine of

equivalents.

          148.   Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’104 patent.




{01705729;v1 }                                    20
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          149.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

          150.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          151.   Plaintiff does not have an adequate remedy at law.

                                              COUNT V

                            (INFRINGEMENT OF THE ’137 PATENT)

          152.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          153.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’137 patent.

          154.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’137 patent are invalid, unenforceable and/or will not be infringed.

          155.   Upon information and belief, Teva admits infringement of at least one claim of the

’137 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’137 patent.

          156.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          157.   Teva has actual knowledge of the ’137 patent, as evidenced by Teva’s Notice

Letter.




{01705729;v1 }                                      21
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          158.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’137 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’137 patent.

          159.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          160.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’137 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’137 patent and any additional

periods of exclusivity.

          161.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’137 patent.

          162.   Upon information and belief, Teva has knowledge of the ’137 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’137 patent, either literally or under the doctrine of

equivalents.

          163.   Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an




{01705729;v1 }                                    22
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infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’137 patent.

         164.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         165.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         166.    Plaintiff does not have an adequate remedy at law.

                                             COUNT VI

                            (INFRINGEMENT OF THE ’148 PATENT)

         167.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

         168.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’148 patent.

         169.    Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’148 patent are invalid, unenforceable and/or will not be infringed.



         170.    Upon information and belief, Teva admits infringement of at least one claim of the

’148 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’148 patent.




{01705729;v1 }                                      23
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          171.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          172.   Teva has actual knowledge of the ’148 patent, as evidenced by Teva’s Notice

Letter.

          173.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’148 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’148 patent.

          174.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          175.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’148 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’148 patent and any additional

periods of exclusivity.

          176.   Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’148 patent.




{01705729;v1 }                                  24
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         177.    Upon information and belief, Teva has knowledge of the ’148 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’148 patent, either literally or under the doctrine of

equivalents.

         178.    Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’148 patent.

         179.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         180.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         181.    Plaintiff does not have an adequate remedy at law.

                                             COUNT VII

                            (INFRINGEMENT OF THE ’648 PATENT)

         182.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

         183.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’648 patent.

         184.    Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’648 patent are invalid, unenforceable and/or will not be infringed.



{01705729;v1 }                                    25
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          185.   Upon information and belief, Teva admits infringement of at least one claim of the

’648 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’648 patent.

          186.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          187.   Teva has actual knowledge of the ’648 patent, as evidenced by Teva’s Notice

Letter.

          188.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’648 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’648 patent.

          189.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          190.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’648 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’648 patent and any additional

periods of exclusivity.




{01705729;v1 }                                      26
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         191.    Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’648 patent.

         192.    Upon information and belief, Teva has knowledge of the ’648 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’648 patent, either literally or under the doctrine of

equivalents.

         193.    Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’648 patent.

         194.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         195.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         196.    Plaintiff does not have an adequate remedy at law.

                                            COUNT VIII

                            (INFRINGEMENT OF THE ’902 PATENT)

         197.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

         198.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’902 patent.



{01705729;v1 }                                    27
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          199.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’902 patent are invalid, unenforceable and/or will not be infringed.

          200.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          201.   Teva has actual knowledge of the ’902 patent, as evidenced by Teva’s Notice

Letter.

          202.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’902 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’902 patent.

          203.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          204.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

at least one claim of the ’902 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’902 patent and any additional

periods of exclusivity.




{01705729;v1 }                                  28
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          205.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

          206.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          207.   Plaintiff does not have an adequate remedy at law.

                                             COUNT IX

                            (INFRINGEMENT OF THE ’903 PATENT)

          208.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          209.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’903 patent.

          210.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’903 patent are invalid, unenforceable and/or will not be infringed.

          211.   Upon information and belief, Teva admits infringement of at least one claim of the

’903 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’903 patent.

          212.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          213.   Teva has actual knowledge of the ’903 patent, as evidenced by Teva’s Notice

Letter.




{01705729;v1 }                                      29
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          214.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’903 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’903 patent.

          215.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          216.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

at least one claim of the ’903 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’903 patent and any additional

periods of exclusivity.

          217.   Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

          218.   Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

          219.   Plaintiff does not have an adequate remedy at law.

                                              COUNT X

                            (INFRINGEMENT OF THE ’771 PATENT)

          220.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.




{01705729;v1 }                                    30
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          221.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’771 patent.

          222.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’771 patent are invalid, unenforceable and/or will not be infringed.

          223.   Upon information and belief, Teva admits infringement of at least one claim of the

’771 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’771 patent.

          224.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          225.   Teva has actual knowledge of the ’771 patent, as evidenced by Teva’s Notice

Letter.

          226.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’771 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’771 patent.

          227.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          228.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’771 patent under § 271(a), either literally or under the doctrine of




{01705729;v1 }                                      31
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equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’771 patent and any additional

periods of exclusivity.

         229.    Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’771 patent.

         230.    Upon information and belief, Teva has knowledge of the ’771 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’771 patent, either literally or under the doctrine of

equivalents.

         231.    Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’771 patent.

         232.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         233.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         234.    Plaintiff does not have an adequate remedy at law.




{01705729;v1 }                                    32
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                                             COUNT XI

                           (INFRINGEMENT OF THE ’892 PATENT)

          235.   Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

          236.   Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’892 patent.

          237.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’892 patent are invalid, unenforceable and/or will not be infringed.

          238.   Upon information and belief, Teva admits infringement of at least one claim of the

’892 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’892 patent. Upon information and belief, in its ANDA No.

215984, Teva has represented to the FDA that Teva’s generic products are pharmaceutically and

therapeutically equivalent to Neurocrine’s INGREZZA® Capsules.

          239.   Teva has actual knowledge of the ’892 patent, as evidenced by Teva’s Notice

Letter.

          240.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’892 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’892 patent.

          241.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.




{01705729;v1 }                                    33
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         242.    Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

at least one claim of the ’892 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’892 patent and any additional

periods of exclusivity.

         243.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         244.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         245.    Plaintiff does not have an adequate remedy at law.

                                             COUNT XII

                            (INFRINGEMENT OF THE ’141 PATENT)

         246.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

         247.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’141 patent.

         248.    Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’141 patent are invalid, unenforceable and/or will not be infringed.




{01705729;v1 }                                    34
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          249.   Upon information and belief, Teva admits infringement of at least one claim of the

’141 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’141 patent.

          250.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          251.   Teva has actual knowledge of the ’141 patent, as evidenced by Teva’s Notice

Letter.

          252.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’141 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’141 patent.

          253.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          254.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’141 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval

of ANDA No. 215984 shall be no earlier than the expiration of the ’141 patent and any additional

periods of exclusivity.




{01705729;v1 }                                      35
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         255.    Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’141 patent.

         256.    Upon information and belief, Teva has knowledge of the ’141 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’141 patent, either literally or under the doctrine of

equivalents.

         257.    Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’141 patent.

         258.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         259.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         260.    Plaintiff does not have an adequate remedy at law.

                                            COUNT XIII

                            (INFRINGEMENT OF THE ’997 PATENT)

         261.    Plaintiff realleges, and incorporates fully herein, each preceding paragraph.

         262.    Upon information and belief, Teva filed ANDA No. 215984 seeking approval to

manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United States

before the expiration of the ’997 patent.



{01705729;v1 }                                    36
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          263.   Teva’s Notice Letter states that Teva filed with the FDA, pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) and 21 C.F.R. § 314.94(a)(12)(i)(A)(4), a certification alleging that the

claims of the ’997 patent are invalid, unenforceable and/or will not be infringed.

          264.   Upon information and belief, Teva admits infringement of at least one claim of the

’997 patent because Teva’s Notice Letter did not provide any non-infringement allegation with

respect to at least one claim of the ’997 patent.

          265.   Upon information and belief, in its ANDA No. 215984, Teva has represented to the

FDA that Teva’s generic products are pharmaceutically and therapeutically equivalent to

Neurocrine’s INGREZZA® Capsules.

          266.   Teva has actual knowledge of the ’997 patent, as evidenced by Teva’s Notice

Letter.

          267.   Upon information and belief, under 35 U.S.C. § 271(e)(2)(A), Teva has infringed

at least one claim of the ’997 patent by submitting, or causing to be submitted, to the FDA ANDA

No. 215984, seeking approval to manufacture, use, import, offer to sell or sell Teva’s generic

products before the expiration date of the ’997 patent.

          268.   Upon information and belief, if ANDA No. 215984 is approved, Teva intends to

and will manufacture, use, import, offer to sell and/or sell Teva’s generic products in the United

States.

          269.   Upon information and belief, if ANDA No. 215984 is approved, Teva will infringe

one or more claims of the ’997 patent under § 271(a), either literally or under the doctrine of

equivalents, by making, using, offering to sell, selling and/or importing Teva’s generic products,

and/or by actively inducing infringement by others under § 271(b) and/or contributing to

infringement under § 271(c), unless this Court orders that the effective date of any FDA approval




{01705729;v1 }                                      37
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of ANDA No. 215984 shall be no earlier than the expiration of the ’997 patent and any additional

periods of exclusivity.

         270.    Upon information and belief, Teva knows, should know and intends that physicians

will prescribe and patients will take Teva’s generic products for which approval is sought in

ANDA No. 215984, and therefore will infringe at least one claim of the ’997 patent.

         271.    Upon information and belief, Teva has knowledge of the ’997 patent and, by its

proposed package insert for Teva’s generic products, knows or should know that it will induce

direct infringement of at least one claim of the ’997 patent, either literally or under the doctrine of

equivalents.

         272.    Upon information and belief, Teva is aware and/or has knowledge that its proposed

package insert will recommend, suggest, encourage and/or instruct others how to engage in an

infringing use because healthcare professionals and/or patients will use Teva’s generic products

according to the instructions in the proposed package insert in a way that directly infringes at least

one claim of the ’997 patent.

         273.    Upon information and belief, Teva’s actions relating to Teva’s ANDA No. 215984

complained of herein were done by and for the benefit of Teva.

         274.    Plaintiff will be irreparably harmed by Teva’s infringing activities unless this Court

enjoins those activities.

         275.    Plaintiff does not have an adequate remedy at law.

                                     REQUEST FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests the following relief:

         A.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’952 patent through Teva’s submission of ANDA No. 215984 to the FDA



{01705729;v1 }                                    38
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seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’952 patent;

         B.      The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’952 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’952 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         C.      The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’952 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         D.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’952 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         E.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’952 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         F.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’058 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’058 patent;




{01705729;v1 }                                   39
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         G.      The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’058 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’058 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         H.      The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’058 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         I.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’058 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         J.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’058 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         K.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’103 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’103 patent;

         L.      The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the




{01705729;v1 }                                   40
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’103 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’103 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         M.      The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’103 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         N.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’103 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         O.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’103 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         P.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’104 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’104 patent;

         Q.      The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’104 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’104 patent under 35 U.S.C. § 271(a), (b) and/or (c);




{01705729;v1 }                                   41
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         R.      The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’104 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         S.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’104 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         T.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’104 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         U.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’137 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’137 patent;

         V.      The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’137 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’137 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         W.      The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’137 patent and any additional




{01705729;v1 }                                   42
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periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         X.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’137 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         Y.      The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’137 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         Z.      The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’148 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’148 patent;

         AA.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’148 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’148 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         BB.     The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’148 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);




{01705729;v1 }                                   43
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         CC.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’148 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         DD.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’148 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         EE.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’648 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’648 patent;

         FF.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’648 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’648 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         GG.     The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’648 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         HH.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United




{01705729;v1 }                                   44
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States, until the expiration of the ’648 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         II.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’648 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         JJ.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’902 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’902 patent;

         KK.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’902 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’902 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         LL.     The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’902 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         MM. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’902 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;




{01705729;v1 }                                   45
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         NN.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’902 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         OO.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’903 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’903 patent;

         PP.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’903 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’903 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         QQ.     The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’903 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         RR.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’903 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         SS.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’903 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;




{01705729;v1 }                                   46
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         TT.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’771 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’771 patent;

         UU.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’771 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’771 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         VV.     The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’771 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         WW. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’771 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         XX.     The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’771 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         YY.     The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’892 patent through Teva’s submission of ANDA No. 215984 to the FDA




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seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’892 patent;

         ZZ.     The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’892 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’892 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         AAA. The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’892 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         BBB. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’892 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         CCC. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’892 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         DDD. The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’141 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’141 patent;




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         EEE. The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the

’141 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’141 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         FFF.    The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’141 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         GGG. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’141 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         HHH. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’141 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         III.    The entry of judgment under 35 U.S.C. § 271(e)(2)(A) that Teva has infringed at

least one claim of the ’997 patent through Teva’s submission of ANDA No. 215984 to the FDA

seeking approval to manufacture, use, import, offer to sell and/or sell Teva’s generic products in

the United States before the expiration of the ’997 patent;

         JJJ.    The entry of judgment under 35 U.S.C. § 271(a), (b) and/or (c) that Teva’s making,

using, offering to sell, selling or importing of Teva’s generic products before the expiration of the




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’997 patent will infringe, actively induce infringement and/or contribute to the infringement of at

least one claim of the ’997 patent under 35 U.S.C. § 271(a), (b) and/or (c);

         KKK. The issuance of an order that the effective date of any FDA approval of Teva’s

generic products shall be no earlier than the expiration date of the ’997 patent and any additional

periods of exclusivity, or any such later date as the Court may determine, in accordance with

35 U.S.C. § 271(e)(4)(A);

         LLL. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from manufacturing, using, offering for sale or selling Teva’s

generic products within the United States, or importing Teva’s generic products into the United

States, until the expiration of the ’997 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and

283;

         MMM. The entry of a preliminary and/or permanent injunction, enjoining Teva and all

persons acting in concert with Teva from seeking, obtaining or maintaining approval of the ANDA

until the expiration of the ’997 patent, in accordance with 35 U.S.C. §§ 271(e)(4)(B) and 283;

         NNN. The issuance of a declaration that this is an exceptional case and an award to

Plaintiff of their costs, expenses and disbursements in this action, including reasonable attorney

fees, pursuant to 35 U.S.C. §§ 285 and 271(e)(4);

         OOO. An award to Plaintiff of any further appropriate relief under 35 U.S.C. § 271(e)(4);

and

         PPP.    An award to Plaintiff of any further and additional relief that this Court deems just

and proper.




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